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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
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     MADY CHAN,                              CIV. NO. 2:15-1367 WBS
15
                                             CR. NO. 2:96-350    WBS
16                  Petitioner,
                                             ORDER
17        v.

18   UNITED STATES OF AMERICA,

19                  Respondent.

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23                On June 26, 2015, petitioner Mady Chan filed a motion

24   pursuant to 28 U.S.C. § 2255.      The United States shall file an

25   opposition to petitioner’s motion no later than July 27, 2015.

26   Petitioner may then file a reply no later than August 10, 2015.

27   The court will then take the motion under submission and will

28   inform the parties if oral argument or further proceedings are
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 1   necessary.
 2        IT IS SO ORDERED.
 3   Dated:   June 30, 2015
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